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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                               __________ DistrictofofArkansas
                                                                       __________


                       Kortney R. Cline                        )
                             Plaintiff                         )
                                v.                             )       Case No.     5:14-cv-05090-TLB
               Boston Scientific Corporation                   )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant, Boston Scienitific Corporation                                                                    .


Date:          09/10/2020                                                                /s/ Theodore O'Reilly
                                                                                           Attorney’s signature


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